                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

UNITED STATES OF AMERICA
                                                 CaseNo. l:19CR75(LOG)
                V.



Robert Lee Freer, Jr.,

                Defendant.



                                prtmtnal information

       THE UNITED STATES ATTORNEY CHARGES THAT between in or about June 2015
and October 2015,the defendant, Robert Lee Freer, Jr., did knowingiy receive one or more
visual depictions that had been mailed, shipped and transported in interstate and foreign
commerce using any means and facility of interstate and foreign commerce, mcludmg by
computer,the production ofsuch visual depictions having involved the use of minors engaging
in sexually explicit conduct(as defined in 18 U.S.C.§ 2256(2)),and such depictions being of
such conduct.

(All in violation ofTitle 18 United States Code Sections 2252(a)(2)&(b)and 2256(1)&(2).)
                                            Respectfully submitted,

                                             G.Zachary Terwilliger
                                             United States Attorney



  Date: March 8.2019                     . Wbit«e>BTRussell
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                                             Assistant United States Attorney
